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                                  19103




                   EXHIBIT 1
       Case 3:17-cv-00072-NKM-JCH Document 1150-1 Filed 10/04/21 Page 2 of 4 Pageid#:
                                         19104




From: Roy III, Daniel P.
Sent: Thursday, August 1, 2019 1:56 PM
To: 'dillon_hopper@protonmail.com' <dillon_hopper@protonmail.com>
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'eli.f.mosley@gmail.com' <eli.f.mosley@gmail.com>; 'matthew.w.heimbach@gmail.com'
<matthew.w.heimbach@gmail.com>
Subject: Notice of Deposition

Mr. Hopper,

Please find attached a Notice of Deposition containing the details regarding your upcoming deposition on August 13,
2019. Please let me know if you have any questions.

Regards,

Dan

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                                   19105




                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, and JOHN DOE,

                                Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM

  v.

  JASON KESSLER, et al.,

                                Defendants.



                        NOTICE OF DEPOSITION OF DILLON HOPPER


       PLEASE TAKE NOTICE that pursuant to FRCP 30(b)(1) and the Court’s orders dated June

21, 2019 and July 3, 2019, Plaintiffs, by and through their undersigned counsel, will take the deposition

upon oral examination of Dillon Hopper at 9 a.m. on August 13, 2019 before a Notary Public or other

person authorized by law to administer oaths. The deposition will take place at The Gene Snyder United

States Courthouse, Attorney Conference Room #2, 601 W. Broadway, Louisville KY 40202. The

deposition will be recorded by stenographic means and videotaped. You are invited to attend and cross-

examine.

Dated: August 1, 2019
New York, New York
                                                     /s/ Robert T. Cahill
                                                     Robert T. Cahill (VSB 38562)
                                                     COOLEY LLP
                                                     11951 Freedom Drive, 14th Floor
                                                     Reston, VA 20190-5656
                                                     Telephone: (703) 456-8000
 Case 3:17-cv-00072-NKM-JCH Document 1150-1 Filed 10/04/21 Page 4 of 4 Pageid#:
                                   19106



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